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Fi|| in this information to identify the case:

Debtor Advanced Sports Enterprises, |nc., et al. (see Annex A)

United States Bani<ruptcy Court for the: Midd|e District of North Carolina
case number 18-80856, et al. (see Annex A)

 

 

 

Official Form 410
Pl'oof of C|aim 04/16

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements Do not send original documents; they may be destroyed after scanning. if the documents are not available,
explain in an attachment

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 

Fi|l in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

|dentify the C|aim

 

 

1' g:gi't:rt;‘e °""°"t Wells Fargo Bank, National Association, as administrative agent (see Annex A)

Name of the current creditor (the person or entity to be paid for this claim)

Other names the creditor used with the debtor

 

 

 

 

 

 

 

2. Has this claim been d NO
acquired from
someone else? cl Yes. From whom?
3. Where should notices Where should notices to the creditor be sent? Where should payments to the creditor be sent? (if
and payments to the different)
creditor be sent? . . _
c/o Rlemer & Braunstern LLP (Steven Foxl Esq) Wells Fargo Bank, N.A. (Em\|y Abrahamson)
Federa| Ru|e of Name Name
Bankruptcy Procedure _ _
(FRBP) 2002(9) Seven Times Square, Sulte 2506 One Boston P|ace
Number Street Number Street ‘
New York NY 10036 Boston MA 02108 :
City State ZlP Code City State ZlP Code §
COnfaCf Ph°ne zw__ Contact phone GM_
Comact ema" sfox@riemer|aw.com Comact eman emi|y.j.abrahamson@wel|sfargo.com j

t
Uniform claim identiher for electronic payments in chapter 13 (if you use one):

 

 

4. Does this claim amend d NO §

' ')
one already med' n Yes. C|aim number on court claims registry (if known) Filed on

MM / DD / YYYY

5. Do you know if anyone w NO

else has filed a proof - . ,,
of claim for this claim? n Yes. Who made the earlier filing.

 

 

Officia| Form 410 Proof of C|aim page 1

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mGNe lnformation About the Claim as of the Date the Case Was Filed

 

6. Do you have any number M NO

§°:tus: t° identify the El Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
e or.

 

7. How much is the claim? $ SQ§ Annex A . Does this amount include interest or other charges?
|;l No

M Yes. Attach statement itemizing interest, fees, expenses, or other
charges required by Bankruptcy Rule 3001(c)(2)(A).

 

8. What is the basis of the Examp|es: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.

 

 

Yes. The claim is secured by a lien on property.
Nature of property:

M Rea| estate. |f the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
Aftachment (Of'Hcial Form 410-A) with this Proof of Claim.
\:l Motor vehicle
Other. Describe: See Annex A

Basis for perfection: See Annex A

Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
example, a mortgage, lien, certificate of title, financing statementl or other document that shows the lien has
been filed or recorded.)

Va|ue of property: $ S€€ Annex A
Amount of the claim that is secured: $ See Annex A

Amount of the claim that is unsecured: $ See Annex A (The sum of the secured and unsecured
amounts should match the amount in line 7.)

Amount necessary to cure any default as of the date of the petition: $ I't/a

Annual interest Rate (when case was filed) S€€ Anm€X A

 

El Fixed
\;l Variable
10. is this claim based on a M NO
lease?
m Yes. Amount necessary to cure any default as of the date of the petition. $

11. ls this claim subject to a w No
right of setoff?
\:l Yes. identify the property:

 

 

Ochial Form 410 Proof of Claim page 2

 

claim? §
Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c). §

i

Limit disclosing information that is entitled to privacy, such as health care information. 3

money loaned/financial accommodations ;

9. ls all or part of the claim No §
secured? §

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12. ls all or part of the claim M No
entitled to priority under

11 U_S_c_ § 507(a)? n Yes. Check One.' Amount entitled to priority
A claim may be partly n Domestic support obligations (including alimony and child support) under

priority and partly 11 U.S.C. § 507(a)(1)(A) Or (a)(1)(B)- $

nonpriority. For example,

in some categories, the n Up to $2,850* of deposits toward purchase, lease, or rental of property or services for

law limits the amount personal, family, or household use. 11 U.S.C. § 507(a)(7). $

entitled to priority.
m Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the

bankruptcy petition is filed or the debtor’s business ends, whichever is earlier. $
11 U.S.C. § 507(a)(4).
n Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8). $
n Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $
n Other. Specify subsection of 11 U.S.C. § 507(a)(_) that applies. $

" Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment

 

 

Sign Be|ow

The person completing Check the appropriate box:

this proof of claim must

sign and date it. n l am the creditor.

FRBP 9011(b)' ij l am the creditor’s attorney or authorized agent.

|f you me this C|aim m l am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
electr°"i°a"y’ FRBP El i t i d th d bt B k t R i 3005
5005(3)(2) authorizes courts am a guaran or, sure y, en orser, or o er co e or. an rup cy u e .

to establish local rules

s eci in what a si nature

i: fy g g l understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

A person who files a

f_'audu'e"t °'a'm °°u'd be | have examined the information in this Proof of Claim and have a reasonable belief that the information is true

fined up to $500,000, and Correct_

imprisoned for up to 5

¥§a\;_ss’_%r_ ;;t:`éz’ 1571 and l declare under penalty of perjury that the foregoing is true and correct.

 

 

 

 

 

 

 

 

 

 

3571.
Executed on date M_
MM / i;)i) / YYYY
Signature
Print the name of the person who is completing and signing this claim:
Name Steven E. Fox, Esq.
First name Middle name Last name
me Attorney
Company Riemer & Braunstein LLP
identify the corporate servicer as the company if the authorized agent is a servicer.
Add,ess Seven Times Square, Suite 2506
Number Street
New York NY 10036
City State ZlP Code
Contact phone 212-789.3100 Emaii sfox@riemerlaw.com
thcial Form 410 Proof of C|aim

page 3

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ANNEX A

l) This Proof of Claim (the “Claim”) is asserted by WELLS FARGO BANK,
NATIONAL ASSOCIATION (“Wells Fargo”), as administrative agent for itself, its successors and
assigns and the other lenders under the Credit Agreement (as defined below), against the estates of:

a) ADVANCED SPORTS ENTERPRISES, INC., debtor under chapter ll case no.
18-80856;

b) ADVANCED SPORTS, INC., debtor under chapter ll case no. 18-80857;
c) PERFORMANCE DIRECT, INC., debtor under chapter ll case no. 18-80860;
d) BITECH, INC., debtor under chapter ll case no. 18-80858; and

e) NASHBAR DIRECT, INC., debtor under chapter ll case no. 18-80859
(individually, a “Debtor”, and collectively, the “Debtors”), in each case pending in
the United States Bankruptcy Court for the Middle District of North Carolina (ioint
administration pending).

2) The Claim arises under (x) a certain Credit Agreement dated as of August 15, 2016
(as same may have been amended, restated, supplemented or otherwise modified and in effect from
time to time, the “Credit Agreement”), and (y) iri respect of certain bank products and/or cash
management and/or treasury management services provided by Wells Fargo or its Affiliates to
Debtors and/or their subsidiaries and affiliates from time to time, in each case together with such
additional documents, instruments, agreements, notes, mortgages and other security documents and
letters of credit executed and/or delivered by or on behalf of any Debtor prior to the Petition Date
(collectively together with any notes and all other documents, consents, instruments, assignments,
amendments, agreements, guarantees and financing statements related thereto and/or executed in
connection therewith, including, without limitation, the “Loan Documents” as defined in the Credit
Agreement, collectively, the “Loan Documents”).

3) As of the Petition Date, the aggregate amount outstanding under the Loan Documents
was $36 557 806.75, w letters of credit in the aggregate stated amount of $807,000.00, B_s interest
accrued and accruing at the default rate, costs, expenses, fees (including attorneys’ fees and legal
expenses), Credit Party Expenses (as defined in the Credit Agreement), other charges and other
obligations, including, without limitation, on account of cash management, credit card, depository,
investment, leasing, hedging and other banking or financial services secured by the Loan Documents.

Schedule l annexed hereto sets forth an estimated itemization of such amounts as of the Petition
Date.

 

4) The Claim is asserted in a secured, liquidated amount, phi_s_ interest, administrative
fees, attorneys’ fees and other expenses, as may be applicable under the Credit Agreement, and as
allowable under Section 506(b) of the Bankruptcy Code.

5) The Claim is secured by (i) liens on substantially all of the Debtors’ personal
property, and (ii) mortgages on real property and related assets located at 10940 Dutton Road,
Philadelphia, Pennsylvania and One Performance Way, Chapel Hill, North Carolina. Among other
things, Mortgages have been recorded and UCC financing statements have been filed against each
Debtor, reflecting the collateral as “all assets of the Debtor”. Wells Fargo asserts, and the Debtors

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have stipulated in pleadings filed with the Bankruptcy Court on the Petition Date, that Wells Fargo’s
secured claims are fully secured as of the Petition Date.

6) The Claim is legal, valid, binding, enforceable, and non-avoidable, and is not subject
to offset, counterclaim, recoupment, or equitable subordination

7) Wells Fargo reserves its right to file additional proofs of claim and/or to amend this
Claim.

8) Due to the voluminous nature of the Loan Documents, copies of the same are not
attached to this Proof of Claim. However, the Debtors are already in possession of the Loan
Documents, and copies of the Loan Documents will bc provided upon written request therefor made
to the persons identified in Paragraph 10 below.

9) The filing of this Proof of Claim is not (i) a waiver or release of Wells Fargo’s rights

against any Debtor, any other person, entity, property, or guarantor, or (ii) an election of any
remedies.

10) All notices and communications concerning this Claim should be addressed as
follows:

Riemer & Braunstein LLP

One Center Plaza

Boston, MA 02108

Attn: Donald E. Rothman, Esq.

-and-

Riemer & Braunstein LLP
Times Square Tower

Seven Times Square, Suite 2506
New York, NY 10036

Attn: Steven E. Fox, Esq.

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Schedule I
Principal $36,557,806.75
lnterest (as of the Petition Date, at Prime +3.75% $129,999.22
per annum)
Letters of Credit $807,000.00
Letter of Credit Fees $1,597.19
Commitment Fees $5,416.()6
Attorneys’ Fees $150,000.00 (est.)
Bank Products/Cash Man§gement Services $5,000.00 (est.)

 

 

TOTAL

 

537,656,819.22

 

2407361.1

 

